

People v Brown (2023 NY Slip Op 00037)





People v Brown


2023 NY Slip Op 00037


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Renwick, J.P., Gesmer, Kennedy, Scarpulla, Pitt-Burke, JJ. 


Ind No. 4659/16 Appeal No. 17035 Case No. 2019-2346 

[*1]The People of the State of New York, Respondent,
vDonell Brown, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Matthew W. Christiana of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Elizabeth T. Schmidt of counsel), for respondent.



Judgment, Supreme Court, New York County (Michael J. Obus, J.), rendered January 9, 2019, convicting defendant, after a jury trial, of strangulation in the second degree and resisting arrest, and sentencing him, as a second felony offender, to an aggregate term of 3½ years, unanimously affirmed.
The verdict was based on legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations, including its evaluation of any inconsistencies in the victim's account. The victim's testimony was corroborated by various evidence, and it supported the conclusion that she sustained a "loss of consciousness for any period of time, or any other physical injury or impairment" (Penal Law § 121.12).
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023








